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                                                                                                        Melanie K. Sharp
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                             Attorneys at Laxo
                                                                                             February 7, 2019
        The Honorable Richard G. Andrews
        United States District Court of Delaware
        844 N. King Street
        Wilmington, DE 19801-3555

                       Re:       Amgen Inc, v. Sanofi etal., C.A. No. 14-1317-RGA
        Dear Judge Andrews:
                Defendants should not have burdened the Court with their renewed motion to exclude
        certain testimony from Steven Pieri. Defendants took Pieri’s deposition as ordered by the Court
        and that deposition established beyond doubt that Pieri is uniquely qualified based on his personal
        knowledge to offer the disputed testimony and that the testimony is well-supported and proper
        under Rule 701.
                1. Under Lightning Lube, Experienced Corporate Employees Like Pieri May Offer
        Opinion Testimony. Pieri’s testimony about the rebates Amgen would have offered for Repatha
        in the absence of Praluent is not improper expert opinion. Under Lightning Lube, Inc. v. Witco
        Corp., 4 F.3d 1153, 1174-75 (3d Cir. 1993), experienced corporate employees may testify about a
        business’s lost profits, even when similar testimony from a non-employee would be “expert’'
        testimony. It is plain that the rebate testimony is squarely within Pieri’s personal knowledge: |



                                                                              In Lightning Lube, the court
       permitted plaintiffs executive to offer lay opinion testimony about the estimated profits that
       plaintiffs business would have earned over the next ten years but for defendants’ conduct based
       on his experience in the relevant industry, over an objection under Rule 701. 4 F.3d at 1174-75.
       Here, Pieri’s testimony about the rebates that Amgen would have offered for Repatha butfor
       Praluent’s infringing presence is proper because of his experience in the relevant industry: he is the
       primary Amgen employee tasked with setting rebates for Repatha, negotiating with payers over
       them and creating forecasts of their future impact.
               Defendants claim that Pieri’s rebate analysis is improper because Pieri did not estimate the
       “but-for” rebate for Repatha as part of his work at Amgen. But that is only because Repatha has
       faced competition from the infringing product—Praluent—from day one. If Defendants had not
       launched Praluent at risk, it would have been Pieri’s job (with his team) to determine what rebates
       Amgen would offer, and Pieri would have performed the same analysis that he did here. Again,
       Lightning Lube is instructive: there, the executive relied on his experience and balance sheets
       prepared by an outside accounting firm to support his testimony about the profits plaintiffs
       business would have earned. Id. The Third Circuit held that the executive’s lay opinion testimony
       and reliance on the accounting reports were proper, noting that the executive “personally
       participated in making that report” and, “[i]n any event, given [his] knowledge and participation in
       the day-to-day affairs of his business, his partial reliance on the report, even if prepared by an
       outsider, does not render his testimony beyond the scope of Rule 701.” Id.




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          governmental payers received very low rebates (~0 to 10%) for covering Plavix. But for




          Therefore, under Lightning Lube, Pieri’s testimony is proper because he is precisely the type of
          experienced employee that the Third Circuit held may offer personal opinion to support a claim for
          damages. 4 F.3d at 1174-75.
                 Defendants’ renewed motion ignores Lightning Lube. Instead Defendants claim that Pieri’s
          opinion is “expert,” because (1)

                            Pieri’s above-described deposition testimony establishes that this subject matter is
          within Pieri’s personal knowledge. And contrary to Defendants’ contention, both Hirst v.
          Inverness Hotel Corp., 544 F.3d 221, 227-28 (3d Cir. 2008) and AVM Techs., LLC v. Intel Corp.,
          927 F. Supp. 2d 139, 145-48 (D. Del. 2013) are inapposite because Pieri is offering a fully
          qualified lay opinion under Rule 701; this is not an “end-run” around the expert disclosure rules.
          Amgen fully distinguished A VM in its original response. (Opp. at 3.) Pieri should be permitted to
          testify about the rebates Amgen would have offered for Repatha in the absence of Praluent.
                2. Meyer Is Familiar with How Pieri Generated His Rebate Analysis, Which
          Corroborates Meyer’s Opinion. Defendants argue that Meyer does not know how|
                                  and so, he should not be permitted to rely on Pieri’s calculation.
          Defendants are wrong. Meyer’s own expert report describes in detail




                Meyer, Amgen’s damages expert, should be permitted to rely on Pieri’s analysis.
                                                               Respectfully,
                                                                /s/ Melanie K. Sharp
                                                               Melanie K. Sharp (No. 2501)
          MKS
          cc: Counsel of Record (via CM/ECF)
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             Exhibits Redacted
